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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

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                                                 *
UNITED STATES OF AMERICA                         *
                                                 *
                                                 *
v.                                               *   Criminal Case No.: RWT-4-0235
                                                 *
                                                 *
LAVON DOBIE                                      *
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                                                 *
                                                 *

                                               ORDER

        The Court is in receipt of correspondence from Defendant Lavon Dobie, dated

April 14, 2014. In her April 14, 2014 letter, Defendant requests the return of property seized by

the Government. The Clerk will be directed to docket this correspondence as a Motion for Return

of Property, and the Government will be directed to respond to the motion within sixty days of

the date of this Order. The Government’s response shall also address Defendant’s Supplemental

Motion to Request a Modification to Sentence [ECF No. 1676]. Accordingly, it is, this 22nd day

of April, 2014, by the United States District Court for the District of Maryland,

        ORDERED, that Defendant’s correspondence dated April 14, 2014 be docketed by the

Clerk as a Motion for Return of Property; and it is further

        ORDERED, that the Government shall respond to Defendant’s motion within sixty days

of the date of this Order; and it is further
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       ORDERED, that the Government’s response shall also address Defendant’s

Supplemental Motion to Request a Modification to Sentence [ECF No. 1676]; and it is further

       ORDERED, that the Clerk shall mail a copy of this Order to Defendant.



                                                                /s/
                                                            ROGER W. TITUS
                                                     UNITED STATES DISTRICT JUDGE




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